






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00759-CV






In re Carol Gino






ORIGINAL PROCEEDING FROM BASTROP COUNTY





M E M O R A N D U M   O P I N I O N


	Relator filed a petition for writ of mandamus, complaining of the trial court's refusal
to order the parties to mediation.  See Tex. R. App. P. 52.8.  Having reviewed the petition, record,
and response, we deny the petition for writ of mandamus.


					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Rose

Filed:   January 10, 2013


